

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1112-11






ASHTON JOEL CARMEN,  Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


BRAZORIA COUNTY





    Per curiam.  Keasler and Hervey, JJ., dissent.  Alcala, J., not participating.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: February 8, 2012

Do Not Publish


